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IN TH;F. DISTRICT CoURT oF CLEVELAND couNTY FgLED nn The
STATE OF OKLAHOMA Office of the Court C|erk
KENNETH n. RAMSEY, TRUSTEE oF MAY 3 0 mm
RAMSEY FAMILY REvocABLE mm ..,.¢= umw
LIVING TRUsT, Rhonda Han, councoen<
umw
Plaintiff,

Versus

Case No.§ f¢"[k QM T g

ALTERRA EXCESS & SURPLUS INSURANCE
COMPANY, FRATES INSURANCE & RISK
MANAGEMENT, LLC, d/b/a FRATES
INSURANCE & RISK MANAGEMENT,
ENGLE MARTIN & ASSOCIATES, INC.,

and JEFF NONHOF,

VV\JVVVVVVVV\/VVVVV

Defendants.

MKB

COMES NOW the PlaintiH`, KENNETH D. RAMSEY, TRUSTEE OF

RAMSEY FAMILY REVOCABLE TRUST (hereinaher “Plaintiff”), and for his causes

of action against Defendants, ALTERRA EXCESS & SURPLUS INSURANCE

COMPANY (“ALTERRA”), FRA'I`ES INSURANCE & RISK MANAGEMENT, LLC

d/b/a FRATES INSURANCE & RISK MANAGEMENT (“FRATES”), ENGLE

MARTIN & ASSOCIATES, INC. (“ENGLE MARTIN”), and JEFF NONHOF

(“NONHOF”) (collectively referred to herein as “Defendants”) and hereby states as
follows:

§LAIEM._QE_M§I§
l. Plaintiff is a resident of Moore, Cleveland County, Oklahoma. Plaintiif has an
insurable interest in the following properties located in Cleveland County,

Oklahoma:

EXH|B|T

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a. [1] 100 s.E. 29m seeer;

b. [2] 2100 s.W. 29“' streec;

e. [5] 417 ~ 431 s.w. 29th street;

d. [10] 641 s.W. 29th street;

e. [12] 739 s.w. 29th streef;

f. [19] 1010-1016 S.W. 29“‘ Street;

g. [24] 1340 s.w. 29“‘ screen

h. [27]. 1600 s.w. 29th streec;

i. [40] 2541 s.w. 29th street;

j. [42] 2605 s.W. 29"‘ streer;

k. [46] 2912 S. Robinson Avenue;

1. [5_3] 4401 s.E. 104*h screen

m. [57] 10401 Sunnylane Road;

n. [60A] 301 s.W. 29"'l street (Dwening); and

o. [60B] 301 S.W. 29ch Street (Garage and Steel Storage Building).
Defendant, ALTERIU\ is a corporation incorporated under the laws of the State
of Delaware, and is an insurance company registered to engage in the business of
insurance in the State of Oklahoma.
Defendant, FRATES is a licensed insurance agency having its principal place of
business in Oklahorna County, Oklahoma.
Defendant, ENGLE MARTIN, is a licensed independent adjusting company
having its principal place of business in Brooklyn Park, Minnesota. This cause of

action arises out of Defendant’s actions and/or inactions during the investigation

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and evaluation of Plaintift’ s claim(s). This Defendant is an independent adjusting
company that was hired to adjust Plaintift`s claim(s) by one or more of the
Defendants herein.

Defendant, NONHOF, is a licensed insurance adjuster in the State of Oklahoma.
The Defendant NONHOF’s Oklahoma license number is 0000065589. This
cause of action arises out of Defendant, NONHOF’s actions and/or inactions
during the investigation and evaluation of Plaintiff’ s claim(s). This Defendant is
an individual that was hired as an adjuster by one or more of the Defendants
herein.

Plaintiff entered into a contract for insurance with Defendant, ALTERRA to
provide coverage for the scheduled properties and its contents Plaintiff’s insured
properties are located in Cleveland County, Oklahoma.

Plaintiff purchased the policy of insurance through the offices of Defendant,
FRATES. At the time Plaintiff purchased the policy of insurance with Defendant,
ALTERRA, the Defendant, FRATES was an agent and/or an ostensible agent of
Defendant, ALTERRA.

Defendant, FRATES was familiar with Plaintiff and had served as Plaintiffs
insurance agent for his insurance needs. Defendant, FRATES advised Plaintiff of
the need to maintain replacement cost coverage on all properties.

Plaintiff relied on Defendant, FRATES’ representations and purchased the same.
Plaintiff trusted and believed Defendant FRATES had the requisite insurance
agent skills and expertise to properly procure the replacement cost insurance

coverage Plaintiff requested.

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Therealter Defendant, ALTERRA issued the Commercial Policy, Policy No.
MAX3PP0060324 (the “Policy”), to the Plaintiff.
Defendant, ALTERRA represented to the Plaintiff, directly and through their
agent, the Defendant, FRATES, that it would conduct itself in accordance with
Oklahoma law and would fully and faithfully investigate and pay claims. Plaintiff
relied on said representations
On or about May 31, 2013, the properties insured by Plaintiff under the subject
Policy were severely damaged as a direct result of Wind/Hail.
Plaintiff timely and properly submitted a claim(s) to Defendant, ALTERRA for
the property damage incurred due to the Wind/Hail.
Defendant, ALTERRA confirmed that the cause of PlaintifT’s property damage
claim(s) were due to the Wind/Hail and that the loss(es) were covered under the
terms and conditions of the Policy with Defendant, ALTERM. Defendant,
ALTERRA assigned a single claim number of MXBP25687 for each of the
insured and scheduled properties.

STATUTORY AUTHORITY
This suit is being brought, in part, under the Oklahoma Unfair Settlement
Practices Act, Okla. Stat. Ann. §36-1250.5; the Oklahoma Consumer Protection
Act, 15 Oka. Stat. §753, and the Oklahoma Insurance Code, 36 O.S. §101 et seq.

FIRST CAUSE OF ACTION
BREACH OF CONTRACT

Plaintiff adopts and incorporates by reference paragraphs l through 15 above as if
fully plead herein, and for further claims against the Defendant, ALTERRA

alleges as follows:

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Plaintiff entered into a contract for insurance with Defendant, ALTERRA to
provide coverage for all scheduled properties

At all times material hereto, the Policy of insurance, Policy No.
MAX3PP0060324, was in full force and effect.

Plaintiff provided timely and proper notice of his claim(s) of property damage
resultant from the May 31, 2013 Wind/Hail storms.

Plaintiff has complied with the terms and conditions and all conditions precedent
under the Policy of insurance

This notwithstanding, the Defendant, ALTERRA has breached its contractual
obligations under the terms and conditions of the insurance contract with Plaintiff
by failing to pay Plaintiff all benefits owed.

As a result of the Defendant, ALTERRA’s breach of contract the Plaintiff has
sustained financial losses and has been damaged in an amount in excess of Ten
Thousand Dollars ($10,000.00), exclusive of attorneys’ fees, costs, and all interest
allowed by law.

The conduct of Defendant, ALTERRA was intentional, willful, malicious, and in
reckless disregard to the rights of Plaintiti`, and said conduct is sufficiently
egregious in nature to warrant the imposition of punitive damages.

SIECOND CAUS]E Oll"` ACTION
M_D IFAII'I`IH_I

Plaintiff adopts and incorporates by reference paragraphs l through 23 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:

Defendants each owed a duty to Plaintiff to deal fairly and act in good faith.

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Defendants breached their duty to deal fairly and act in good faith by engaging in

the following acts and/or omissions:

a.

Failing to pay the full and fair amount for the property damage sustained
by Plaintiff during the May 31, 2013 Wind/Hail storm in accordance with
the terms and conditions of the Policy. n
F ailing to pay all additional coverages due and owing to Plaintiff under the
terms and conditions of the Policy.

Reducing the fair amount of Plaintiff’ s claim(s) unfairly and without a
valid basis.

Violating the Unfair Claims Settlement Practices Act, 36 O.S. §§1250.1-

1250.16 by wrongfully, intentionally and repeatedly withholding benefits

_ and coverages due and owing to the Plaintiff under the terms and

conditions of the Policy.

Wrongfully, intentionally and repeatedly failing to communicate all
coverages and benefits applicable to Plaintifi"s claim(s).

Forcing Plaintiff to obtain legal counsel to recover insurance benefits
entitled to under the terms and conditions of the insurance contract

Failing to conduct a fair and objective investigation of the damage to
Plaintiff s properties.

Intentionally engaging in an outcome oriented investigation

Intentionally engaging in a systematic scheme designed to save money
otherwise due and owing to the Plaintiff and other similarly situated

insureds as a cost-saving mechanism

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Defendants’ obligations to the Plaintiff arise from both express written terms
under the insurance policy and under the Oklahoma Insurance Code as well as
implied obligations under Oklahoma law.

Defendants’ failure to implement and/or follow the statutory impositions under
the Oklahoma Insurance Code constitute bad faith.

Defendants’ conduct is a material breach of the terms and conditions of the
insurance contract entered into with the Plaintiff and constitutes bad faith.

As a direct and proximate result of Defendants’ unfair claims handling conduct,
Plaintiff`s claim(s) were unnecessarily delayed, inadequately investigated, and
wronfgully underpaid. Said actions resulted in additional profits and a financial
windfall to Defendant ALTERRA.

As a result of Defendants’ conduct the Plaintiff has sustained financial losses and
has been damaged in an amount in excess of Ten Thousand Dollars ($10,000.00),
exclusive of attorneys’ fees, costs, and all interest allowed by law.

The conduct of Defendants was intentional, willful, malicious, and in reckless
disregard to the rights of Plaintiif, and said conduct is sufficiently egregious in
nature to warrant the imposition of punitive damages.

Plaintiff further alleges Defendants enjoyed increased financial benefits and ill-
gotten gains as a direct result of the intentional and wrongful conduct described
above, which resulted in further damages to the Plaintiff.

THIRD CAUS}E OF ACTION
BREACH OF FIH)UCIARY DUTY

Plaintiff adopts and incorporates by reference paragraphs 1 through 33 above as if

fully plead herein, and for further claims against the Defendants alleges as

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follows:

Due to the unequal bargaining power between Plaintiff and Defendants, the quasi-
public nature of insurance, and the potential for Defendants to unscrupiously
exploit that power at a time when Plaintiff was most vulberable, a special
relationship akin to that of a fiduciary duty exists between Plaintiff and
Defendants.

As a result of the special relationship, Defendants owed a fiduciary duty to their
insured to act in a manner consistent with the best interests of their insured.

A fiduciary duty existed between Plaintiff and Defendants. The overwhelming
influence of Defendant, FRATES over Plaintiff, and Plaintiff’s dependency and
trust in their insurance agent, and Defendant, FRATES’ assurance they could
procure the insurance policy Plaintiff requested creates a fiduciary status.

Given the specialized knowledge the Defendant, FRATES possessed with regard
to the terms and conditions of the insurance policy, the Defendant, FRATES’ duty
to act reasonably created such a special relationship so as to make the Defendant,
FRATES a fiduciary.

The Defendants breached their fiduciary duties owed to the Plaintiff.

As a result of Defendants’ breach of fiduciary duties, Plaintiff sustained financial
losses and has been damaged in an amount in excess of Ten Thousand Dollars
($10,000.00), exclusive of attomeys’ fees, costs, and all interest allowed by law.
T he conduct of Defendants was intentional, willful, malicious, and in reckless
disregard to the rights of Plaintiff, and said conduct is sufficiently egregious in

nature to warrant the imposition of punitive damages

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FOURTH CAUSE OF ACTION
NEGLIGENCE IN THE PROCUREMENT OF INSURANCE

Plaintiff adopts and incorporates by reference paragraphs l through 41 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:

Defendant, FRATES was familiar with Plaintiff and had been hired as Plaintiff"s
insurance agent for his property insurance needs. In this capacity, Defendant,
FRATES advised Plaintiff of the need to purchase and maintain the more
expensive replacement cost coverage so that his properties would be replaced in
the event of damage or destruction to any of the properties by a covered loss.
Plaintiff relied upon Defendant, FRATES’ representations and annually
purchased the suggested coverage by paying a higher premium each year.
Defendant, FRATES procured the subject replacement cost policy for Plaintiff.

At all times relevant hereto, the Defendant, FRATES was an agent and/or an
ostensible agent of Defendant, ALTERRA.

Defendant, ALTERRA owed Plaintiff a duty to act in good faith and to exercise
reasonable care, skill and diligence in the procurement of insurance for Plaintiff,
and in the notification of insurance coverage options to the Plaintiff.

Defendant, FRATES had a duty to inform Plaintiff of all coverages, benefits,
limitations and exclusions in the coverage procured.

Defendant, FRATES breached its duty owed to Plaintiff and is liable to the
Plaintiff because the insurance requested by Plaintiff was not procured as
promised and Plaintiff suffered a loss(es).

Defendant, FRATES breached its duty owed to Plaintiff by:

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a. Procuring an insurance policy that did not serve to fully replace its insured
property when it was damaged or destroyed by a covered loss.

b. Procuring an insurance policy that ldid not accurately reflect the reasonable
expectations of the Plaintiff.

c. Failing to inform Plaintiff of the limitations of the insurance policy
procured for Plaintiff.

Defendant, FRATES was negligent and breached its duty owed to Plaintiff by

failing to review the policy procured for Plaintiff to ensure it provided appropriate

and adequate coverage.

PlaintiH` reasonably believed the insurance policy procured and mainained by

Defendant, FRATES was in conformity to the agreement with FRATES.

Plaintiff relied upon Defendant, FRATES to procure and maintain appropriate and

adequate coverage.

Defendant, FRATES knew or should have known Plaintiff relied upon them to
procure appropriate and adequate coverage, and it is foreseeable that the failure to
procure appropriate and adequate coverage for Plaintiff could unnecessarily
expose Plaintiff to significant harm, losses and damages.

The Defendant, FRATES was an agent and/or an ostensible agent of Defendant,
ALTERRA, and Defendant, ALTERRA is vicariously liable for the conduct of
Defendant, FRATES.

As a result of Defendants’ conduct, Plaintiff has sustained financial losses and has
been damaged in an amount in excess of Ten Thousand Dollars ($l0,000.00),

exclusive of attomeys’ fees, costs, and all interest allowed by law.

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The conduct of Defendants was intentional, willful, malicious, and in reckless
disregard to the rights of Plaintiff, and said conduct is sufficiently egregious in
nature to warrant the imposition of punitive damages.
FIFTH CAUSE OF ACTION
CONSTRUCTIVE FRAUD AND
NEGLIGENT M[SREPRESENTA'I_`I__ON

Plaintiff adopts and incorporates by reference paragraphs 1 through 57 above as if

fully plead herein, and for further claims against the Defendants alleges as

follows:

Defendant, FRATES had a duty to exercise reasonable diligence and skill in

obtaining and notifying Plaintiff of insurance coverage options.

Defendant, FRATES breached its duty to Plaintiff by misrepresenting to Plaintiff

as follows:

a. That the insurance procured was truly one of “replacement.”

b. That the amount of coverage procured, and for which premiums were paid,
was equal to the estimated replacement cost of Plaintiff" s property.

c. That the amount of coverage procured would provide the coverage
necessary for Plaintiff to replace their property in the event it was
destroyed by a covered event.

d. The the insurance policy procured would comply with Plaintiff s
reasonable expectations that the property would be restored to its pre-loss
condition in the event of a covered loss.

That as a result of Defendant, FRATES’ breach of duty, Defendant, FRATES

gained an advantage to the prejudice and detriment of Plaintiff

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Defendant, FRATES misrepresented the nature of the insurance policy procured
for Plaintiff.

Defendant, FRATES misrepresented the policy as one which was necessary to
provide appropriate and adequate coverage for Plaintiff s properties

Defendant, FRATES misrepresented the policy was one which was in an amount
necessary to replace Plaintiff’s property in the event it was destroyed by a covered
event.

Defendant, FRATES’ misrepresentations constitute constructive fraud,

Plaintiff was induced to accept and purchase the Defendant, ALTERRA’s policy
of insurance by Defendant, FRATES’ misrepresentations and constructive fraud,
Plaintiff was misled by Defendant, FRATES’ misrepresentations and constructive
fraud.

The Defendant, FRATES was an agent and/or an ostensible agent of Defendant,
ALTERRA for purposes of these misrepresentations, and as such the Defendant,
ALTERRA is vicariously liable for the conduct of Defendant, FRATES.

As a result of the Defendants’ misrepresentations and constructive fraud, Plaintiff
has sustained financial losses and has been damaged in an amount in excess of
Ten Thousand Dollars (310,0_00.00), exclusive of attomeys’ fees, costs, and all
interest allowed by law.

Plaintiff is further entitled to reformation of the insurance contract to provide
coverage consistent with the Defendant, FRATES’ misrepresentations

The conduct of Defendants was intentional, willful, malicious, and in reckless

disregard to the rights of Plaintiff, and/or was grossly negligence, and is

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sufficiently egregious in nature to warrant the imposition of punitive damages

SIX'I`H CAUSE QE ACTION
NEGLIGENT UNDER!VRITING

Plaintiff adopts and incorporates by reference paragraphs 1 through 71 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:

At the time the insurance policy was sold to Plaintiff, Defendants were obligated
to utilize reasonable valuation methodology to determine the costs which
Defendants considered necessary to cover the replacement costs of Plaintiff’s
properties As such, Defendants were then prohibited from writing a policy for
more insurance than they considered necessary to cover the replacement cost of
Plaintiff’ s properties as determined at the time the subject policy was written.
Thereaf’ter, Defendants owed a duty to Plaintiff to exercise good faith, reasonable
care, skill and expertise in the underwriting analysis to ensure the insurance
policy provided appropriate and adequate coverage once the insurer-insured
relationship was established.

Defendants breached their duties to Plaintiff to exercise good faith, reasonable
care, skill and expertise in failing to establish an accurate and consistent
methodology for calculating the replacement cost of Plaintiff s properties
Defendants’ breach resulted in both inconsistent and inaccurace replacement cost
valuations whereby the Plaintiff paid premiums for policy limits that did not
accurately reflect the risks insured.

Defendants further breached their duties by automatically applying Defendant,

ALTERRA’s annual inflationary adjustments which were utilized to increase

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Plaintiff’s policy limits and premiums without regard to whether or not the
inflationary adjustment increase was necessary in relation to the properties
valuations at the time.

The conduct and inconsistencies referenced herein violate Defendants’ duties of
good faith and fair dealing implicit in the insurance contract with Plaintiff and
other Oklahoma policyholders

Defendants’ obligations arise from both the express written terms of the policy
and the Oklahoma Insurance Code and Defendants’ failure to implement and/or
follow Oklahoma’s statutory Insurance Code also constitutes unfair claims
handling.

Defendants’ conduct referenced herein constitutes a breach of this duty of good
faith and fair dealing which is inherent in all insurance contracts within the State
of Oklahoma.

Defendants’ failure to procure the proper insurance product morally and legally
requires it to be held to a duty of reasonable care, and that the burden of the
resulting liability for breach of this duty be imposed upon them. This duty exists
to foreseeability of the harm to Plaintiff which could occur as a result of failure to
underwrite or procure adequate and appropriate insurance; the procurement of
inadequate and improper insurance is the direct cause of the harm and injury
suffered by Plaintiff; and the moral blame for the failure to procure and
underwrite the current policy lies with the Defendants

Further, the burden on the Defendants of imposing a duty to exercise care in

procuring and underwriting the correct insurance policy for the needs of the

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insured (with resulting liability for breach thereof) is minimal given the expertise
and uneven bargaining power of the Defendants, and Defendants’ representations
of being an expert in the field of providing insurance to the general public, such as
Plaintiff.

Plaintiff relied non Defendants to conduct an appropriate underwriting analysis to
ensure and maintain an insurance policy which provided appropriate and adequate
coverage

Defendants breached their duties owed to Plaintiff by failing to conduct an
appropriate underwriting analysis which resulted in issuing a policy of insurance
to Plaintiff that did not provide appropriate and adequate coverage to Plaintiff.

As a result of the Defendants’ conduct, Plaintiff has sustained financial losses and
has been damaged in an amount in excess of Ten Thousand Dollars (510,000.00),
exclusive of attomeys’ fees, costs, and all interest allowed by law.

The conduct of Defendants was intentional, willful, malicious, and in reckless
disregard to the rights of Plaintiff, and/or was grossly negligence, and is
sufficiently egregious in nature to warrant the imposition of punitive damages

SEV]ENTH CAUSE OF AC'I`ION
VIIOLATIIONS OIF` OKILAIH_IOMA CONSIUMIER lPlRO'll`lEC'll`llON AC'H`

Plaintiff adopts and incorporates by reference paragraphs l through 86 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:

Plaintiff brings forth each and every cause of action alleged above under the
Oklahoma Consumer Protection Act pursuant to its tie-in provision

At all material times hereto, Plaintiff was a consumer who purchased insurance

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products and services from Defendants

Defendants have violated the Oklahoma Consumer Protection Act in the manners

including, but not limited to, the following:

(1) Representing that the agreement confers or involves rights, remedies or
obligations which it does not have, or involve, or which are prohibited by law;

(2) F ailing to disclose information concerning goods or services which was
known at the time of the transaction when such failure to disclose such
information was intended to induce the consumer into a transaction that the
consumer would not have entered into had the information been disclosed;

(3) Engaging in an unconscionable course of conduct.

(4) At all material times hereto, Plaintiff was a consumer of insurance services or
products of Defendants, and Plaintiff would show that Defendants’ violations
as set forth above, constitutes a violation of the Oklahoma Consumer
Protection Act, causing Plaintiff damages

(5) By accepting insurance premiums but refusing without a reasonable basis to
pay benefits due and owing, Defendants have engaged in an unconscionable
action or course of action as prohibited by the Oklahoma Consumer Protection
Act, in that Defendants took advantage of Plaintiff’s lack of knowledge,
ability, experience, and capacity to a grossly unfair degree, that also resulted
in a gross disparity between the consideration paid in the transaction and the

value received.

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EIGH'I_`H CAUSE OF _AC_TION
BREACH OF COMMON LAV_V
DUTY QF GOOD FAITH AND FAIR DEALING
Plaintiff adopts and incorporates by reference paragraphs 1 through 90 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:
Defendants’ conduct, as described above, constitutes a breach of the common law
duty of good faith and fair dealing owed to it’s insured pursuant to the insurance
contract
Defendants’ conduct, as described above, was in direct contradiction of the
applicable industry standards of good faith and fair dealing.
Defendants’ failure, as described above, to adequately and reasonable investigate,
evaluate, and pay the benefits owed under the insurance contract, knowing full
well through the exercise of reasonable diligence that its liability was reasonably
clear, resulted in a breach of the duty of good faith and fair dealing.
BAYE_R_EOIMJ_IEE

WHEREFORE, premises considered, the Plaintiff prays for judgment against

Defendants, ALTERRA, FRATES, ENGLE MARTIN and NONHOF fort

a. Payment of all contractual benefits for all coverages afforded to Plaintiff
under the subject policy of insurance for damage to the properties caused
by the May 31, 2013, Wind/Hail storm, together with interest on all
amounts due;

b. Disgorgement of the incureased financial benefits derived by Defendants

as a direct result of Defendants’ wrongful or intentionaL willful, malicious

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and/or reckless conduct;

c. Actual and punitive damages each in an amount in excess of Ten

Thousand Dollars ($10,000.00); and

d. Attorneys’ fees, costs and interest, including pre-judgment and post-

judgment interest,

ATTORNEYS’ LIEN CLAIMED
JURY TRlIAL DEMANDED

  

Respectfully ubmi -~

  

 

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